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UNITED STATES DISTRICT C()URT
WESTERN DISTRICT GF WASHINGTON
AT SEATTLE
UNITED STATES OF AMERICA,
Plaintiff, Case No. MJ18-031
v. DETENTION ORDER

RAWND KHALEEL ALDALAWI,

Defendant.

 

 

 

The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),
and based upon the factual findings and statement of reasons for detention hereafter set forth,
finds that no condition or combination of conditions Which the defendant can meet Will
reasonably assure the appearance of the defendant as required and the safety of any other person
and the community.

FlNDlNGS OF FACT AND STATEMENT OF REASONS FOR DETENT|ON

(1) Defendant has been charged by complaint with conspiracy to violate the arms
export control act. He is not a citizen of the United States and an immigration detainer is lodged
against him. The Court received no information about defendant’s personal history, residence,
family or community ties, employment history, financial history, health and substance use. The

defendant through his attorney stipulated to detention based on the immigration detainer and

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objected to the reason for detention, specifically as stated in the Motion for Detection section 2.,
page 2, Safety of any other person and the community. The government withdrew the reason at
this time but reserved the right to reargue the reason if there should be a future hearing. The
defendant through his attorney made no argument as to release, lodged the above obj ection, and
made no objection to the contents of the United States Probation and Pretrial report, and
stipulated to detention.

lt is therefore ORDERED:

(l) Defendant shall be detained pending trial and committed to the custody of the
Attorney General for confinement in a correctional facility separate, to the extent practicable,
from persons awaiting or serving sentences, or being held in custody pending appeal;

(2) Defendant shall be afforded reasonable opportunity for private consultation With
counsel;

(3) On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the correctional facility in which Defendant is confined
shall deliver the defendant to a United States Marshal for the purpose of an appearance in
connection with a court proceeding; and

(4) The Clerk shall direct copies of this order to counsel for the United States, to
counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

Officer.

DATED this équday OfJ€€/V\Mgg ,/2018.

PAUIA 11 MCCANDLIS
United States Magistrate Judge

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